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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

     Plaintiff,                                       CASE NO. 2:15-cv-01183-JRG-RSP

v.

LVMH WATCH & JEWELRY USA, INC.,                          JURY TRIAL DEMANDED

     Defendant.




 DEFENDANT LVMH WATCH & JEWELRY USA, INC.’S ANSWER, AFFIRMATIVE
     DEFENSES, AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

         Defendant LVMH Watch & Jewelry USA, Inc. (“LVMH”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Symbology Innovations, LLC’s

(“Plaintiff”) Complaint. LVMH denies the allegations and characterizations in Plaintiff’s

Complaint unless expressly admitted in the following paragraphs.

                               PARTIES AND JURISDICTION

         1.       LVMH admits that the Complaint purports to set forth an action for

patent infringement and the Plaintiff purports to seek injunctive relief as well as

damages, but denies that Plaintiff is entitled to any relief from LVMH.

         2.       LVMH admits that the Complaint purports to set for an action for patent

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that

this Court has subject matter jurisdiction over this case for patent infringement under 28

U.S.C. §§ 1331 and 1338(a).
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       3.     LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies

all such allegations.

       4.     LVMH denies that it is a corporation organized and existing under the

laws of the State of New Jersey. LVMH admits is has a principal place of business at 966

South Springfield Avenue, Springfield, NJ 07081.

       5.     LVMH denies the allegations of Paragraph 5 of the Complaint.

       6.     LVMH denies the allegations in paragraph 6 of the Complaint.

                                        VENUE

       7.     LVMH admits that venue may be proper. LVMH denies that venue is

convenient in this judicial district as to LVMH. LVMH denies it has committed acts of

infringement and, on that basis, denies the remaining allegations of Paragraph 7.

                                       COUNT I

       8.     LVMH incorporates by reference the answers to paragraphs 1–7 above.

       9.     LVMH admits that the Complaint purports to set forth a claim under the

patent laws of the United States. LVMH otherwise denies the remaining allegations of

Paragraph 9 of the Complaint.

       10.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 10 of the Complaint and, on that basis,

denies all such allegations.

       11.    LVMH admits that a purported copy of U.S. Patent No. 8,424,752 (the

“’752 Patent”) is attached to the complaint as Exhibit A and that the face of that patent

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indicates that it is entitled “System and Method for Presenting Information about an

Object on a Portable Electronic Device.” LVMH lacks knowledge sufficient to confirm or

deny if the document attached as Exhibit A is a true and correct copy of the ’752 Patent.

LVMH otherwise denies the remaining allegations in paragraph 11.

       12.    LVMH denies the allegations in Paragraph 12 of the Complaint.

       13.    LVMH denies the allegations in Paragraph 13 of the Complaint.

       14.    LVMH denies the allegations in Paragraph 14 of the Complaint.

       15.    LVMH denies the allegations in Paragraph 15 of the Complaint.

       16.    LVMH denies the allegations in Paragraph 16 of the Complaint.

       17.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 17 of the Complaint and, on that basis,

denies all such allegations.

                                      COUNT II

       18.    LVMH incorporates by reference the answers to paragraphs 1–17 above.

       19.    LVMH admits that the Complaint purports to set forth a claim under the

patent laws of the United States. LVMH otherwise denies the remaining allegations of

Paragraph 19 of the Complaint.

       20.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 20 of the Complaint and, on that basis,

denies all such allegations.

       21.    LVMH admits that a purported copy of U.S. Patent No. 8,651,369 (the

“’369 Patent”) is attached to the complaint as Exhibit B. LVMH denies that the ’369
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Patent is entitled “System and Method for Presenting Information about an Object on a

Portable Electronic Device.” LVMH lacks knowledge sufficient to confirm or deny if the

document attached as Exhibit B is a true and correct copy of the ’369 Patent. LVMH

otherwise denies the remaining allegations in paragraph 21.

       22.    LVMH denies the allegations in Paragraph 22 of the Complaint.

       23.    LVMH denies the allegations in Paragraph 23 of the Complaint.

       24.    LVMH denies the allegations in Paragraph 24 of the Complaint.

       25.    LVMH denies the allegations in Paragraph 25 of the Complaint.

       26.    LVMH denies the allegations in Paragraph 26 of the Complaint.

       27.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 27 of the Complaint and, on that basis,

denies all such allegations.

                                      COUNT III

       28.    LVMH incorporates by reference the answers to paragraphs 1–27 above.

       29.    LVMH admits that the Complaint purports to set forth a claim under the

patent laws of the United States. LVMH otherwise denies the remaining allegations of

Paragraph 29 of the Complaint.

       30.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 30 of the Complaint and, on that basis,

denies all such allegations.

       31.    LVMH admits that a purported copy of U.S. Patent No. 8,936,190 (the

“’190 Patent”) is attached to the complaint as Exhibit C and that the face of that patent
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indicates that it is entitled “System and Method for Presenting Information about an

Object on a Portable Electronic Device.” LVMH lacks knowledge sufficient to confirm or

deny if the document attached as Exhibit C is a true and correct copy of the ’190 Patent.

LVMH otherwise denies the remaining allegations in paragraph 31.

       32.    LVMH denies the allegations in Paragraph 32 of the Complaint.

       33.    LVMH denies the allegations in Paragraph 33 of the Complaint.

       34.    LVMH denies the allegations in Paragraph 34 of the Complaint.

       35.    LVMH denies the allegations in Paragraph 35 of the Complaint.

       36.    LVMH denies the allegations in Paragraph 36 of the Complaint.

       37.    LVMH is without knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 37 of the Complaint and, on that basis,

denies all such allegations.

                                   PRAYER FOR RELIEF

       LVMH denies that Plaintiff is entitled to any relief from LVMH and denies all the

allegations contained in Paragraphs a-e of Plaintiff’s Prayer for Relief.

                                 AFFIRMATIVE DEFENSES

       LVMH’s Affirmative Defenses are listed below. LVMH reserves the right to

amend its Answer to add additional Affirmative Defenses, including allegations of

inequitable conduct, consistent with the facts discovered in this case.

                               FIRST AFFIRMATIVE DEFENSE

       38.    LVMH has not infringed and does not infringe, under any theory of

infringement (including directly (whether individually or jointly) or indirectly (whether

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contributorily or by inducement)), and valid, enforceable claim of the ’752, ’369, and

’190 Patents (collectively, the “Asserted Patents”).

                           SECOND AFFIRMATIVE DEFENSE

       39.    Each asserted claim of the Asserted Patents is invalid for failure to comply

with one or more of the requirements of the United States Code, Title 35, including

without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

laws pertaining thereto.

                           THIRD AFFIRMATIVE DEFENSE

       40.    To the extent that Plaintiff and any predecessors in interest to any of the

Asserted Patents failed to properly mark any of their relevant products or materials as

required by 35 U.S.C § 287, or otherwise give proper notice that LVMH’s actions

allegedly infringe the Asserted Patents, LVMH is not liable to Plaintiff for the acts

alleged to have been performed before it received actual notice that it was allegedly

infringing the Asserted Patents.

                           FOURTH AFFIRMATIVE DEFENSE

       41.    To the extent that Plaintiff asserts that LVMH indirectly infringes, either

by contributory infringement or inducement of infringement, LVMH is not liable to

Plaintiff for the acts alleged to have been performed before LVMH knew that its actions

would cause indirect infringement.




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                             FIFTH AFFIRMATIVE DEFENSE

         42.   Plaintiff’s attempted enforcement of the Asserted Patents against LVMH is

barred by one or more of the equitable doctrines of laches, estoppel, acquiescence,

waiver, and unclean hands.

                             SIXTH AFFIRMATIVE DEFENSE

         43.   The claims of the Asserted Patents are not entitled to a scope sufficient to

encompass any system employed or process practiced by LVMH.

                           SEVENTH AFFIRMATIVE DEFENSE

         44.   Plaintiff’s Complaint fails to state a claim upon which relief can be granted

because the Asserted Patents do not claim patentable subject matter under 35 U.S.C.

§ 101.

                            EIGHTH AFFIRMATIVE DEFENSE

         45.   To the extent Plaintiff contends that it alleges a claim for indirect

infringement (whether by inducement or contributorily), Plaintiff has failed to state a

claim upon which relief can be granted.

                               LVMH’S COUNTERCLAIMS

         For   its   counterclaims   against   Plaintiff   Symbology   Innovations,    LLC

(“Symbology”), Counterclaim Plaintiff LVMH Watch & Jewelry USA, Inc. (“LVMH”),

alleges as follows:




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                                         PARTIES

       1.     Counterclaim Plaintiff LVMH Watch & Jewelry USA, Inc., is a corporation

organized and existing under the laws of the State of Delaware, with a principal place

of business in Springfield, NJ.

       2.     Upon information and belief based solely on Paragraph 3 of the

Complaint as plead by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC,

is a limited liability company organized and existing under the laws of the State of

Texas and maintains its principle place of business at 1400 Preston Road, Suite 400,

Plano, Texas 75093.

                                     JURISDICTION

       3.     LVMH incorporates by reference paragraphs 1–2 above.

       4.     These counterclaims arise under the patent laws of the United States, Title

35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

§ 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.     Symbology has consented to the personal jurisdiction of this court by at

least commencing their action for patent infringement in this district, as set forth in its

Complaint.

       6.     Based solely on Symbology’s filing of this action, venue is proper, though

not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                        COUNT I

               DECLARATION REGARDING NON-INFRINGEMENT

       7.     LVMH incorporates by reference paragraphs 1–6 above.

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       8.     Based on Symbology’s filing of this action and at least LVMH’s first

affirmative defense, and actual controversy has arisen and now exists between the

parties as to whether LVMH infringes the ’752, ’369, and ’190 Patents.

       9.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

LVMH requests a declaration by the Court that LVMH has not infringed and does not

infringe any claim of the ’752, ’369, and ’190 Patents under any theory (including

directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)).

                                         COUNT II

                     DECLARATION REGARDING INVALIDITY

       10.    LVMH incorporates by reference paragraphs 1–9 above.

       11.    Based on Symbology's filing of this action and at least LVMH’s Second

Affirmative Defense, and actual controversy has arisen and now exists between the

parties as to the validity of the claims of the ’752, ’369, and ’190 Patents.

       12.    Pursuant to the Federal Declaratory Judgement Act, 28 U.S.C. §2201 et seq.,

LVMH requests a declaration by the Court claims of the ’752, ’369, and ’190 Patents are

invalid for failure to comply with one or more of the requirements of United States

Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the

rules, regulations, and laws pertaining thereto.

                                   PRAYER FOR RELIEF

       WHEREFORE, LVMH asks this Court to enter judgment in LVMH’s favor and

against Symbology by granting the following relief:

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        a)     a declaration that the ’752, ’369, and ’190 Patents are invalid;

        b)     a declaration that LVMH does not infringe, under any theory, any valid

 claim of the ’752, ’369, and ’190 Patents that may be enforceable;

        c)     a declaration the Symbology take nothing by its Complaint;

        d)     judgement against Symbology and in favor of LVMH;

        e)     dismissal of the Complaint with prejudice;

        f)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

 award to LVMH of its costs and attorneys’ fees incurred in this action; and

        g)     further relief as the Court may deem just and proper.

                                      JURY DEMAND

        LVMH hereby demands trial by jury on all issues.




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 Dated: October 5, 2015                Respectfully submitted,

                                       FISH & RICHARDSON P.C.



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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and

 foregoing document has been served on October 5, 2015, to all counsel of record who

 are deemed to have consented to electronic service via the Court’s CM/ECF system per

 Local Rule CV-5(a)(3).



                                           /s/ Ricardo J. Bonilla
                                                          Ricardo J. Bonilla




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